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                   EXHIBIT C
       Case 3:21-cv-01506-KAD Document 1-3 Filed 11/10/21 Page 2 of 4




DOCKET NO. NNH-CV21-6118767-S                                  SUPERIOR COURT

ALEJANDRO LEZAMA                                               J.D. OF NEW HAVEN

V.                                                             AT NEW HAVEN

FAIR HAVEN CONIMUNITY HEALTH
CLII~IIC,INC.                                                  NOVEMBER 10, 2021


                   NOTICE OF FILING OF PETITION FOR REMOVAL

        TO THE JUDGES AND CLERK OF THE SUPERIOR COURT IN THE JUDICIAL

DISTRICT OF NEW HAVEN AT NEW HAVEN IN THE STATE OF CONNECTICUT,

WITHIN; AND TO ALL PARTIES TO THE ACTION HEREIN:

        PLEASE TAKE NOTICE that the Defendant, Fair Haven Community Health Clinic, Inc.,

is filing a Petirion for Removal of this action in the United States District Court for the District of

Connecticut on November 10, 2021, pursuant to the provisions of 28 U.S.C. §§ 1331 and 1446.

You are advised to take no further action herein.

       This notice of filing of petition is filed and served pursuant to 28 U.S.C. § 1446.

                                                 THE DEFENDANT,
                                                 FAIR HAVEN COMMUNITY HEALTH
                                                 CLINIC, INC.

                                               By: /s/ James M. Sconzo
                                                  James M. Sconzo
                                                  CARLTON FIELDS, P.A.P.0
                                                  One State Street, Suite 1800
                                                  Hartford, CT 06103-3102
                                                  Telephone: (860) 392-5000
                                                  Facsimile: (860) 392-5058
                                                  E-mail: jsconzo@carltonfields.com
                                                  Juris No. 420124

                                                    Its Attorneys
        Case 3:21-cv-01506-KAD Document 1-3 Filed 11/10/21 Page 3 of 4




                                   CERTIFICATE OF SERVICE

            I hereby certify that on this 10th day of November 2021, a copy of the foregoing was e-

filed and served via e-mail, upon the following counsel of record:

Matthew D. Paradisi
Cicchiello & Cicchiello, LLP
364 Franklin Avenue
Hartford, CT 06114
Tel.: 860-296-3457
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                                                /s/James M. Sconzo
                                                James M. Sconzo

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Attorney/Firm: CARLTON FIELDS P.A.P.C. (420124)                                                                   E-Mail: harecf@cfdom.net

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           Docket Number:                             NNH-CV-XX-XXXXXXX-S
          Case Name:                                  LEZAMA, ALEJANDRO v. FAIRHAVEN COMMUNITY HEALTHY CLINIC, INC.
          Type of Transaction:                        Pleading/Motion/Other document
          Date Filed:                                 Nov-10-2021
          Motion/Pleading by:                         CARLTON FIELDS P.A.P.C. (420124)
          Document Filed:                             101.00 NOTICE OF REMOVAL TO FEDERAL DISTRICT COURT


          Date and Time of Transaction:               Wednesday, November 10, 2021 3:20:04 PM




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